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                    Exhibit D
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                                                                   Page 1

 1                        UNITED STATES DISTRICT COURT
 2                       NORTHERN DISTRICT OF CALIFORNIA
 3
 4
 5       THRESHOLD ENTERPRISES LTD., A          )
         DELAWARE CORPORATION,                  )
 6                                              )             CASE NO.
                          PLAINTIFF,            )             5:22-cv-06483-
 7                                              )             PCP
                     VS.                        )
 8                                              )
         LIFEFORCE DIGITAL INC., A DELAWARE     )
 9       CORPORATION                            )
                                                )
10                        DEFENDANT.            )
         _______________________________________)
11
12
13
14
15                          DEPOSITION OF IRA GOLDBERG
16                           FRIDAY, DECEMBER 15, 2023
17
18
19       LOCATION:       2033 GATEWAY PLACE
                         5TH FLOOR
20                       SAN JOSE, CALIFORNIA 95110
21
         REPORTED REMOTELY BY: SUSAN S. HENRIQUEZ, CERTIFIED
22       SHORTHAND REPORTER NO. 13763
23
24       JOB NO. 6332424
25

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                                                                Page 2                                                            Page 4
 1 DEPOSITION OF IRA GOLDBERG, TAKEN AT 2033 GATEWAY PLACE,               1       FRIDAY, DECEMBER 15, 2023, 9:06 A.M. PST
 2 5TH FLOOR, SAN JOSE, CALIFORNIA 95110, ON BEHALF OF THE
 3 DEFENDANT AT 9:06 A.M. PST, FRIDAY, DECEMBER 15, 2023, AND
                                                                          2
 4 REPORTED REMOTELY, VIA VIDEOCONFERENCE, BY                             3                 IRA GOLDBERG,
 5 SUSAN S. HENRIQUEZ, C.S.R. NO. 13763.
                                                                          4      having been duly administered an oath by the
 6
 7 APPEARANCES OF COUNSEL (ALL APPEARED IN PERSON):                       5    court reporter, was examined and testified as follows:
 8                                                                        6
 9 FOR THE PLAINTIFF:
                                                                          7          MR. AGARWAL: On behalf of the plaintiff,
10      VALLEJO | ANTOLIN | AGARWAL | KANTER LLP
        BY: MONTY AGARWAL, ESQ.                                           8   Threshold Enterprises, this is Monty Agarwal.
11      3021 CITRUS CIRCLE                                                9          MR. SPATZ: On behalf of the Defendant Lifeforce
        SUITE 220
12      WALNUT CREEK, CALIFORNIA 94598
                                                                         10   Digital, Inc., this is George Spatz and my colleague
        925.951.6970                                                     11   Manon Burns.
13      MAGARWAL@VAAKLLP.COM                                             12                   EXAMINATION
14
     FOR THE DEFENDANT:
                                                                         13   BY MR. SPATZ:
15                                                                       14      Q Mr. Goldberg, could you please state and spell
        AMIN TALATI WASSERMAN, LLP
                                                                         15   your name for the record.
16      BY: GEORGE SPATZ, ESQ.
          MANON BURNS, ESQ.                                              16      A Ira Goldberg, I-R-A, G-O-L-D-B-E-R-G.
17      549 WEST RANDOLPH STREET                                         17      Q Mr. Goldberg, have you ever been deposed before?
        SUITE 400
                                                                         18      A Yes.
18      CHICAGO, ILLINOIS 60661
        312.466.1033                                                     19      Q How many times have you been deposed?
19      GSPATZ@AMINTALATI.COM                                            20      A I don't know exactly but five, six. Probably at
        MBURNS@AMINTALATI.COM
                                                                         21   least five, less than ten.
20
21                                                                       22      Q And have those depositions all been related to
22                                                                       23   matters involving Threshold Enterprises?
23
24
                                                                         24      A I believe so, yes.
25                                                                       25      Q Do you recall how long ago the most recent
                                                                Page 3                                                            Page 5
 1                     INDEX                                              1   deposition was?
 2
                                                                          2       A No, I haven't been deposed in many years so I --
 3   WITNESS       EXAMINATION                      PAGE
                                                                          3   you know, I can't remember. I think the most recent one
 4   IRA GOLDBERG
 5             BY MR. SPATZ    4                                          4   was probably around ten years ago. I could be -- you
 6                                                                        5   know, I can't say exactly.
 7                                                                        6       Q And to your recollection were any of those
 8                  EXHIBITS
                                                                          7   depositions involving trademark matters or trademark
 9
                                                                          8   disputes?
10   NO.       DESCRIPTION          PAGE
11   Exhibit 201 THRESHOLD PRODUCT NEWSLETTER                     18      9       A Yes.
             FROM APRIL OF 2022                                          10       Q Okay. And what matters that you were deposed in
12                                                                       11   involved trademark disputes?
   Exhibit 226 SALES FOR THE LIFEFORCE SUBLINE 22
                                                                         12       A The one I remember is also on Lifeforce. It
13         OF PRODUCTS FROM 2004 TO 2023
                                                                         13   was -- we sued the company called -- the product was
14 Exhibit 202 SPRING CATALOG FOR THRESHOLD 2023 29
15 Exhibit 213 A LISTING OF AWARDS AND       43                          14   called Lifeforce B for trademark infringement.
           DISTINCTIONS FOR THE SOURCE                                   15       Q And the company was Functional Brands?
16         NATURALS PRODUCT LINES                                        16       A I believe so. I'm not a hundred percent sure. I
17 Exhibit 227 SALES OF THE SOURCE NATURALS     50
                                                                         17   believe so. It's been a while.
           LIFEFORCE SUBLINE FROM 2011 TO 2020
                                                                         18       Q To your recollection were any of the other
18         AND MONTHLY SALES FOR 2021, 2022
           AND YEAR-TO-DATE 2023                                         19   depositions related to trademarks and trademark matters?
19                                                                       20       A At the moment I don't think so, but I could be
20                                                                       21   mistaken. I can't remember all the depositions I've been
21
                                                                         22   in, so there might have been another one, but I don't
22
                                                                         23   recall.
23
24                                                                       24       Q Okay. Since it's been a while we'll go through
25                                                                       25   the ground rules of depositions.

                                                                                                                      2 (Pages 2 - 5)
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                                                       Page 6                                                           Page 8
 1          We're doing well right now, but we do have a         1       Q I want to go over just a little bit of your
 2   court reporter who's writing everything down; so it's       2   education and work background. Can you give me a brief
 3   important, as we go forward, that you let me finish         3   overview of your education.
 4   talking before you're talking and then I'll do my best to   4       A I went to public school, junior high, high school
 5   allow you to finish before I talk.                          5   in New York, New York City. I went to college, Brooklyn
 6          The court reporter can't transcribe "uh-huhs" and    6   College, graduated -- four years straight -- in 1970.
 7   "uhmms" very well, so if you can give verbal responses,     7       Q What did you -- what was your major at Brooklyn
 8   "yes" or "no," that would be appreciated.                   8   College?
 9          Okay?                                                9       A Political science.
10       A Okay.                                                10       Q And then after Brooklyn College?
11       Q And then your counsel may object to a question.      11       A No formal education.
12   Unless he instructs you not to answer, you're still to     12       Q So did you get employment following college?
13   answer the question?                                       13       A Yes. I was a schoolteacher at New York City
14       A Okay.                                                14   public school system.
15       Q Okay. And then finally, you know, this isn't --      15       Q How long were you a schoolteacher?
16   you're not locked here, so if you need a break to get some 16       A I had two jobs. Both did not last very long,
17   water, use the restroom, to stand up, stretch your legs,   17   both under two months.
18   feel free. Just let me know, I'll finish whatever          18       Q And after the short stints as a schoolteacher,
19   questions I'm on, and then we can take a break.            19   what did you do?
20          Okay?                                               20       A Well, I -- you know, I was 21 years old. I did a
21       A Okay.                                                21   little traveling. And -- it's been a while. Let me see.
22       Q Is there any reason you would not be able to give    22   Let's see. I did a little traveling, and then eventually
23   truthful testimony today? You're not feeling well or       23   I went to work in the family business.
24   you've taken medication that would prevent you from giving 24       Q What was the family business?
25   truthful testimony?                                        25       A The company was called Battery Specialists of
                                                       Page 7                                                           Page 9
 1      A No.                                                    1   New York.
 2      Q Not revealing any substance of your conversations      2       Q And about what year did you start with the family
 3   with counsel, what did you do to prepare for your           3   business?
 4   deposition today?                                           4       A I don't know exactly but probably -- probably
 5      A Well, I talked to Monty. We had a roughly short        5   like '72, '73. Could have been earlier, could have been
 6   meeting. And then I think I spoke to him one or two more 6      later. It's been a while.
 7   times, very shortly, over the last -- you know, this week,  7       Q And how long were you with your family company?
 8   over this week.                                             8       A About three years.
 9      Q Did you speak to anyone at Threshold about your        9       Q And, generally speaking, what were you doing for
10   deposition?                                                10   the company?
11      A No, except they know I'm going -- people at           11       A Delivering batteries, warehouse work.
12   Threshold know I'm going to a deposition today because I'm 12       Q Following working with the family business, what
13   usually there and I'm not there today.                     13   did you do?
14      Q Understood. Did you talk to Mr. Cayton (phonetic 14            A Let me see. I started a small business in
15   spelling) about his deposition?                            15   Boston, Massachusetts, called -- they were doing
16      A No.                                                   16   distribution, and myself and a partner distributed certain
17      Q Did you talk to Mr. Sugarman about his                17   natural products to health food stores in the New York
18   deposition?                                                18   area.
19      A No -- oh, wait -- yeah, that's correct, that's        19       Q And how long were you involved in that
20   correct.                                                   20   distribution business?
21      Q You understand the testimony you're giving today      21       A Less than a year or about a year.
22   concerns a trademark infringement proceedings that         22       Q Okay. And then following that?
23   Threshold Enterprises has brought against Lifeforce        23       A I started a company in -- I moved to California,
24   Digital regarding the Lifeforce trademark; correct?        24   started a company in Santa Cruz called European Health
25      A Yes.                                                  25   Imports.

                                                                                                            3 (Pages 6 - 9)
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                                                               Page 10                                                           Page 12
 1       Q Did you do that with a partner as well?                        1   fee. And we started using that to call all over the
 2       A No.                                                            2   country to sell our products to primarily natural food
 3       Q And how long were you with European Health                     3   stores.
 4   Imports?                                                             4         Then another milestone is we were a distributor
 5       A Well, in the sense, 45 years. It was the                       5   at the time, and I realized, in looking for certain types
 6   forerunner name of my current company. I changed the                 6   of products, they didn't exist or they weren't to our
 7   name, you know, but -- to Threshold Enterprises.                     7   liking, and we decided to start making our own products
 8       Q Okay. And, calculating, the European Health                    8   also in addition to distributing other people's products.
 9   Imports would be around 1977?                                        9       Q And around what time did Threshold start
10       A Yeah. It started in January -- I believe January              10   developing its own products?
11   of '78.                                                             11       A I think '82 or '83.
12       Q Do you know when you changed the name to                      12       Q And what were the first products that Threshold
13   Threshold?                                                          13   began developing?
14       A Probably one to two years later.                              14       A The first products were some basic vitamins and
15       Q And at the beginning days, what was the focus of              15   minerals, you know, your basic vitamin A, B, C, D, E,
16   the company?                                                        16   calcium, magnesium, multivitamin. At first the products
17       A Selling natural products, nutritional supplements             17   were basic. And then -- but, you know, we started
18   to natural food stores, primarily.                                  18   expanding, making some new products.
19       Q And were you the CEO and president?                           19         And there was a -- a product -- this is -- the
20       A President.                                                    20   company kind of grew rapidly. It was a lot of publicity
21       Q Okay. And you've been --                                      21   around a product called Spirulina, kind of an algae health
22       A Yeah, I'm the leader, owner, leader, president.               22   supplement, high protein, green product, and it's still
23       Q You've been the leader, owner of the company, to              23   being used today in the natural foods industry. And we
24   the present?                                                        24   were one of the firsts to sell that product, and it was
25       A Yes.                                                          25   very popular and helped the company grow. So that was a
                                                               Page 11                                                           Page 13
 1     Q Without you going into too much detail, the                      1   milestone.
 2 company has grown from that point -- about how many                    2      Q And that was also in the early to mid '80s?
 3 employees and contractors does the company have at this                3      A Yeah, yeah. And then, you know, we continued to
 4 point?                                                                 4   grow. We also, in the early '80s, we opened up a division
 5     A You know, I don't have an exact number, but I                    5   called Planetary Formulas. It was an herbal product,
 6 would say somewhere between 5 and 600. Probably closer to              6   herbal line based primarily on Chinese and Ayurvedic types
 7 500 would be my guess.                                                 7   of preparations.
 8     Q If you can just give us at, a really high level,                 8      Q And do you know the time frame in which you
 9 kind of a brief history of the company from the beginning              9   started the Planetary Formulas?
10 in 1978 and some of its major milestones to where we are              10      A Similar time frame, maybe a year or two later,
11 today?                                                                11   after Source; so I would say early '80s.
12     A So the first product that we sold at the company                12      Q You said "after Source"?
13 was called Omega H-3. It was a health and -- you know,                13      A Source Naturals.
14 health supplement imported from Europe. And so the name               14      Q That's a reference to Source Naturals?
15 European Health Imports, the first few products we sold               15      A Yes, that's the brand.
16 were imported from Europe. And then we expanded and got               16      Q And was that the brand that you released the
17 into more and more products over time.                                17   basics, the vitamins and minerals and the Spirulina?
18        We found success selling in California, then in                18      A Yes, from Source Naturals.
19 Washington, and then we realized, you know, we were small             19      Q So then the Source Naturals started in the
20 but we were doing well and, you know, how to expand out               20   '82-'83 time frame?
21 beyond the West Coast. And we started using                           21      A Yes, around there approximately.
22 telemarketing, and so we were one of the first                        22      Q And then continuing today, is the Source Naturals
23 telemarketing companies in the natural foods industry.                23   and Planetary Formulas the two primary brands that
24 WATS line, if you remember WATS lines -- you may not                  24   Threshold sells?
25 remember, but it was virtually unlimited calls for a flat             25      A Yes.

                                                                                                                  4 (Pages 10 - 13)
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                                                       Page 14                                                                  Page 16
 1       Q I know Barry mentioned Horizon. Are there other        1 search your files for documents that might be relevant to
 2   brands that Threshold provides? I think he said that that    2 the case?
 3   was a minor or nominal portion of the business?              3     A No.
 4       A Yeah, we developed, also, a line called                4     Q And then would you consider yourself being in
 5   Horizon -- Horizon Naturals or -- and, you know, because     5 charge of day-to-day operations at Threshold?
 6   of channel conflict, we wanted to move more into             6     A No.
 7   mass-market type of activities, but we didn't want to do     7     Q Who's in charge of day-to-day operations?
 8   it with Source Naturals because natural food stores would    8     A Carl Weissman. He's the COO and CFO.
 9   be upset to see products of their stores selling, you        9     Q And do you have a, you know, particular area or
10   know, on the shelf of supermarkets or whatnot. So we        10 scope that you spend most of your time in?
11   developed similar products, same products, same type of     11     A Well, you know, a number of areas but finance --
12   products, but for the mass market.                          12 finance, banking relationship, R&D, you know --
13       Q And is Horizon Naturals, is that still a line         13        THE COURT REPORTER: I'm sorry, Mr. Goldberg --
14   that Threshold sells?                                       14 can you guys hear me?
15       A No, no.                                               15        MR. SPATZ: I can.
16       Q So for, like, the mass-market customers, you're       16        THE WITNESS: Payables. I still sign all the
17   just selling directly under the Source Naturals brand?      17 checks --
18       A Yes. The marketplace has changed and concerns of      18        THE COURT REPORTER: Okay. I got "finance,
19   channel conflict where a natural foods store might not      19 banking relationship," and then you said something after
20   carry a brand if it was sold in other channels of           20 that and I didn't get that.
21   commerce, you know, that has dissipated. That's -- it       21        MR. SPATZ: R&D.
22   still might exist in some retailers' minds, but in          22        THE WITNESS: R&D, Research and Development.
23   general, it's not an issue anymore.                         23        THE COURT REPORTER: Thank you.
24       Q Is there a general time frame in which that shift     24        THE WITNESS: So I don't run -- we have a whole
25   happened from the channel conflict to not?                  25 department run by a PhD but I participate, also

                                                       Page 15                                                                  Page 17
 1      A It's been a long -- you know, a long, slow             1    participate in marketing. You know, I edit, I'll edit
 2   process as supplements move from, you know, natural food 2       certainly, you know, marketing leaflets, brochures, ads,
 3   stores or drugstores or pharmacies into the internet --     3    not just, you know -- you know, I review all those things
 4   other -- and as mass market became more interested in       4    along with other people. I'm not the only one, but I'm
 5   nutritional supplements -- you know, they weren't           5    part of a review team on marketing materials and just
 6   interested in the kind of, let's say, more sophisticated    6    general strategy, business strategy and sales. You know,
 7   nutritional supplements that we sold. You know, in the      7    we have sales managers, but I sit in on meetings and I
 8   early days they would have basics, but as time went on and 8     participate in that area.
 9   the popularity of nutritional supplements has grown, then   9       Q Okay. I want to talk a little bit about the
10   the mass market started to get into more sophisticated     10    Source Naturals brand of -- line of -- the Source Naturals
11   formulas and wants more natural-food-type products.        11    brand of products.
12      Q And mass market, that's like the grocery stores?      12          Is it correct that there's approximately
13      A Grocery stores, pharmacies, other types of            13    750 Source Naturals products?
14   outlets, like, you know, what they call big-box stores.    14       A Yes, approximately.
15      Q Like Costco and Walmart?                              15       Q Okay. And those are targeted into specific
16      A Yeah.                                                 16    health categories?
17      Q Jumping back real quick just to confirm: You          17       A Yeah, yes.
18   don't have any education, specific training in law or      18       Q And we've had testimony on several of those
19   advertising, do you?                                       19    categories, but it's in reference to approximately
20      A No. You mean formal training?                         20    25 different health categories?
21      Q Formal training, yes.                                 21       A Yeah, I mean, it's a matter of interpretation, so
22         Were you involved in collecting documents to         22    you know, if we have -- if you counted and we have 25,
23   produce in this case?                                      23    then we have 25. Some people might have 20; some people
24      A No.                                                   24    might have 30.
25      Q Did anybody ask you to search your e-mails or         25       Q Understood?

                                                                                                              5 (Pages 14 - 17)
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                                                      Page 18                                                          Page 20
 1       A It's how you slice the pie.                          1          Do you see that?
 2       Q Got it. And I just saw a reference of it in some     2        A Yes.
 3   of the literature, so I haven't particularly counted or    3        Q Is there a reason why, you know, certain products
 4   have a formula for that.                                   4    would be under a name like "Wellness" versus a specific
 5         Could you just recite some of the products and       5    product like the D3?
 6   the categories that they would be sold through?            6        A Well, Wellness is -- we have a very popular
 7       A Well, there's different kinds of categories. It      7    product called Wellness Formula. It's kind of an
 8   could be energy, brain, nutrition, you know, bone          8    immune-enhancing product that's become very popular; so
 9   nutrition, digestive, immune, you know, vision, eyesight,  9    we've expanded using the Wellness name for -- you know,
10   things that are good for eyesight, anti -- you know,      10    for us is kind of a -- it's a category for immune, for
11   antioxidants.                                             11    immune support. So vitamin D is good for the immune
12       Q Mr. Goldberg, I'm going to hand you what's been     12    system. We put vitamin D product in the Wellness -- under
13   marked as Exhibit 201.                                    13    the Wellness label.
14    (Whereupon Exhibit No. 201 was marked for identification 14        Q And you would say the Wellness family of products
15               and is attached hereto)                       15    is your best selling product line?
16   BY MR. SPATZ:                                             16        A You mean division or category?
17       Q Do you recognize this as a Threshold Product        17        Q Or revenue?
18   Newsletter from April of 2022?                            18        A Revenue? It's either the -- I don't have the
19       A I do.                                               19    numbers, so it's either the best or one of the best. It
20       Q If you can look at the Bates numbers on the         20    may not be the best as a category.
21   document, there's a faint number printed on each page and 21        Q And, like, another product you sell is melatonin;
22   I'm going to refer you to Threshold 16.                   22    correct?
23       A Okay I'm not seeing the faint number.               23        A Yes.
24         MR. AGARWAL: It's these numbers here.               24        Q And is that sold as melatonin or is that within a
25         THE WITNESS: Oh, okay, there we go.                 25    family of products as well?
                                                      Page 19                                                          Page 21
 1         MR. AGARWAL: Find something that ends with 16. 1             A It's sold as melatonin, but it's under the Sleep
 2   BY MR. SPATZ:                                               2   Science kind of little subline.
 3       Q Also Page 14.                                         3         But most of Sleep Science is melatonin, various
 4       A Okay, I have 16.                                      4   melatonin products.
 5       Q If you would look at the third column, about          5      Q And then you also have a Lifeforce product line;
 6   halfway down it says "Source Naturals"; correct?            6   correct?
 7       A Yes.                                                  7      A Yeah. Well, it's a subline, yeah.
 8       Q Okay. And these would be some of the                  8      Q When you say "subline," what do you mean by
 9   Source Naturals products that were either introduced in     9   subline?
10   the April 2022 time frame or were on special for customers 10      A Well, I consider Source Naturals the line, so
11   in and around the April 2022 time frame?                   11   within the line are groupings of products. You know, you
12       A Yes.                                                 12   can call them lines, or I would refer to them as sublines.
13       Q And if you -- you know, the list goes on to the      13      Q I'll try to use that terminology.
14   following page, and in the middle column it has a lot of   14      A That's all right.
15   those I think you call them basics, so the vitamin A, the  15      Q And is it correct that all of the products in the
16   vitamin D, vitamin C.                                      16   Lifeforce subline are multivitamins?
17         Do you see that?                                     17      A I believe so, yes.
18       A Yes.                                                 18      Q Is Threshold selling the Lifeforce V product to
19       Q And that includes a vitamin D3 product?              19   your knowledge?
20       A Yes.                                                 20      A No.
21       Q And if you look towards the bottom there, it has     21      Q Do you know how long ago it stopped selling the
22   a vitamin K plus D product as well; correct?               22   Lifeforce V product?
23       A Yes.                                                 23      A I don't know if we ever sold the Lifeforce V
24       Q And then if you look back to just under the          24   product.
25   Source Naturals, there's, like, a Wellness D Immunity.     25      Q Were you involved in the research and development

                                                                                                         6 (Pages 18 - 21)
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                                                               Page 42                                                               Page 44
 1   BY MR. SPATZ:                                              1             Comparative Guided Nutritional Supplements Third
 2       Q I'll restate the question as: To your knowledge      2             Edition --
 3   has Threshold done any studies -- or to your knowledge     3                 A Yes.
 4   does Threshold have an understanding or done any studies 4                   Q -- do you see that?
 5   as to the care in which consumers take in purchasing the   5                 A Yes.
 6   Source Naturals Lifeforce subline?                         6                 Q And on the preceding page, there's been a
 7       A I don't know.                                        7             reference to a 2006 Lisle McWilliams Comparative Guide to
 8       Q What are Threshold's primary marketing methods       8             Nutritional Supplements, Third Edition, updated.
 9   for the Source Naturals product lines?                     9                   Do you see that?
10       A One component is in-store merchandising, another 10                    A Yes.
11   component is video advertising, you know, creating videos 11                 Q That the product rating that you were referring
12   on a website, Amazon or something.                        12             to?
13       Q So a video that might be in connection with a       13                 A Yes.
14   product listing?                                          14                 Q And then following those ratings, is it correct
15       A Yeah.                                               15             that Threshold did a marketing effort for the Lifeforce
16       Q Okay. Any other --                                  16             subline?
17       A Literature, ads, we do co-op advertising, so if     17                 A Yes.
18   customers have a vehicle of promotion, we may promote our18                  Q And that marketing effort included TV and radio
19   products through that vehicle, so that can include        19             ads?
20   newspaper, radio, TV.                                     20                 A I don't remember.
21       Q And the literature you referenced, would that       21                 Q Do you remember any TV ads for the Lifeforce
22   primarily lead to retail customers?                       22             subline?
23       A To, yes, retail customers, yes.                     23                 A I believe there were, but I don't remember.
24       Q And would you then have literature or information 24                   Q Are you aware of any radio ads for the Lifeforce
25   developed to post in connection with listings of products 25             sublines?
                                                               Page 43                                                               Page 45
 1 online?                                                                1     A I believe there were, but I don't remember
 2     A Well, online is -- the same or similar literature                2 specifics.
 3 also exists online, on our website or other sites.                     3     Q Do you know if there's been any updated rankings
 4     Q And are you aware of, specifically with respect                  4 of the multivitamins since 2006 from Lisle McWilliams?
 5 to the Source Naturals Lifeforce subline, what marketing               5     A I'm not aware. There may be; there may not be.
 6 Threshold has done?                                                    6 I don't know.
 7     A I do remember some. I can't say I remember all.                  7     Q Is it your understanding -- I think this goes up
 8     Q What are some of the marketing efforts you can                   8 until March 2019, at least.
 9 recall?                                                                9       Are you aware of any awards or distinctions for
10     A We -- you know, there's a life -- we had -- we --               10 the Lifeforce subline post-March 2019?
11 it's not an award but we got rated as the top multiple in             11     A I don't know if this is a complete list --
12 North America by an independent research group, and we did            12     Q That was my next question. Is this a complete
13 various marketing efforts around that publication.                    13 listing of the awards and distinctions?
14     Q Mr. Goldberg, I'm going to hand you what's been                 14     A I don't know, but I'm already seeing subsequent,
15 marked as Exhibit 213.                                                15 in 2014, Lifeforce --
16   (Whereupon Exhibit No. 213 was marked for identification            16       MR. AGARWAL: You mean subsequent to 2019?
17             and is attached hereto)                                   17 BY MR. SPATZ:
18 BY MR. SPATZ:                                                         18     Q Well, I --
19     Q Do you recognize Exhibit 213 as a listing of                    19     A It's been since 2006.
20 awards and distinctions for the Source Naturals product               20     Q Okay. Let's -- we'll clear that up, okay.
21 lines?                                                                21       So my original question, I think we were clear
22     A Yes.                                                            22 on, is: Were there any subsequent rankings from Lisle
23     Q And if you look a couple of pages into the                      23 McWilliams's Comparative Guide to Nutritional Supplements
24 document, there is a -- or on the last page of the                    24 following 2006?
25 document, there's a reference to a 2003 Lisle McWilliams              25     A I don't know.

                                                                                                                      12 (Pages 42 - 45)
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                                                      Page 50
 1   question.
 2         THE WITNESS: I -- I don't know.
 3   BY MR. SPATZ:                                               3      Q Mr. Goldberg, have you ever met Tony Robbins?
 4      Q Mr. Goldberg, I'm going to hand you what's been        4      A No.
 5   marked as Exhibit 227. And I'll represent to you that       5      Q Have you ever had any conversations with
 6   this was produced as sales of the Source Naturals           6   Tony Robbins?
 7   Lifeforce subline from 2011 to 2020 and then monthly sales 7       A No.
 8   for 2021, 2022, and year-to-date 2023.                      8      Q Would you have any basis or knowledge of whether
 9    (Whereupon Exhibit No. 227 was marked for identification 9     Toby Robbins was aware of the Source Naturals Lifeforce
10              and is attached hereto)                         10   subline?
11   BY MR. SPATZ:                                              11      A It's very possible.
12      Q Do you understand Exhibit 227 to be sales of the      12      Q Do you personally have any information as to
13   Source Naturals Lifeforce product line?                    13   whether Toby Robbins had any awareness of the Source
14      A I understand that you're saying that and it's         14   Naturals Lifeforce subline?
15   probably true, but I can't attest to the accuracy or truth 15      A The information I have is that Tony -- one of our
16   of what's in here.                                         16   biggest brands that we sell is Twinlab, a supplement
                                                                17   company, and Toby Robbins, to my knowledge, at a certain
                                                                18   point became a principal in that company. So he may have
                                                                19   been -- we have a business relationship. Although I never
                                                                20   met him personally, we've been doing business with one of
                                                                21   his companies and he may have had knowledge of our
                                                                22   products and product line.
                                                                23      Q Okay, thank you. I'm going to ask just the
                                                                24   specific question if you have any information that
                                                                25   Toby Robbins in fact was aware of the Source Naturals
                                                                                                                        Page 53
                                                                 1   Lifeforce subline?
                                                                 2      A No.
                                                                 3      Q Are you familiar with a company called
                                                                 4   Doctor's Signature Marketing and Sales?
                                                                 5      A Yeah, I believe so.
                                                                 6      Q And do they go by the name Lifeforce
                                                                 7   International?
                                                                 8      A I believe so.
                                                                 9      Q Have you had any direct communications with the
                                                                10   principals at Direct International?
                                                                11      A No.
                                                                12      Q Do you know who Mr. Helman is?
                                                                13      A No.
                                                                14      Q Do you know who Mr. Hussein is?
                                                                15      A No.
                                                                16         MR. SPATZ: Let's take a ten-minute break. I'll
                                                                17   collect, and we might be done soon.
                                                                18         MR. AGARWAL: Okay.
                                                                19       (Recess taken from 10:39 to 10:51 a.m. PST)
                                                                20   BY MR. SPATZ:
                                                                21      Q Mr. Goldberg, before the break we were talking
                                                                22   about Lifeforce International, and I had asked if you had
                                                                23   any communications with their principals.
                                                                24         Have you had communications with anyone at
                                                                25   Lifeforce International?

                                                                                                       14 (Pages 50 - 53)
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 1                 Veritext Legal Solutions                                       1         DEPOSITION REVIEW
                    1100 Superior Ave                                                      CERTIFICATION OF WITNESS
 2                    Suite 1820                                                  2
                   Cleveland, Ohio 44114                                                ASSIGNMENT REFERENCE NO: 6332424
 3                  Phone: 216-523-1313                                           3     CASE NAME: Threshold Enterprises LTD. v. Lifeforce Digital Inc.
 4                                                                                      DATE OF DEPOSITION: 12/15/2023
     January 8, 2024                                                              4     WITNESS' NAME: Ira Goldberg
                                                                                  5     In accordance with the Rules of Civil
 5
                                                                                    Procedure, I have read the entire transcript of
     To: Monty Agarwal, Esq.
                                                                                  6 my testimony or it has been read to me.
 6
                                                                                  7     I have listed my changes on the attached
     Case Name: Threshold Enterprises LTD. v. Lifeforce Digital Inc.
                                                                                    Errata Sheet, listing page and line numbers as
 7                                                                                8 well as the reason(s) for the change(s).
     Veritext Reference Number: 6332424                                           9     I request that these changes be entered
 8                                                                                  as part of the record of my testimony.
   Witness: Ira Goldberg         Deposition Date: 12/15/2023                     10
 9                                                                                      I have executed the Errata Sheet, as well
10 Dear Sir/Madam:                                                               11 as this Certificate, and request and authorize
11                                                                                  that both be appended to the transcript of my
   Enclosed please find a deposition transcript. Please have the witness         12 testimony and be incorporated therein.
12                                                                               13 _______________           ________________________
   review the transcript and note any changes or corrections on the                 Date              Ira Goldberg
13                                                                               14
   included errata sheet, indicating the page, line number, change, and                 Sworn to and subscribed before me, a
14                                                                               15 Notary Public in and for the State and County,
   the reason for the change. Have the witness’ signature notarized and             the referenced witness did personally appear
15                                                                               16 and acknowledge that:
   forward the completed page(s) back to us at the Production address            17     They have read the transcript;
                                                                                        They have listed all of their corrections
16 shown
                                                                                 18         in the appended Errata Sheet;
17 above, or email to production-midwest@veritext.com.
                                                                                        They signed the foregoing Sworn
18
                                                                                 19         Statement; and
   If the errata is not returned within thirty days of your receipt of                  Their execution of this Statement is of
19                                                                               20         their free act and deed.
   this letter, the reading and signing will be deemed waived.                   21     I have affixed my name and official seal
20                                                                               22 this ______ day of_____________________, 20____.
21 Sincerely,                                                                    23         ___________________________________
22 Production Department                                                                    Notary Public
23                                                                               24
24                                                                                          ___________________________________
25 NO NOTARY REQUIRED IN CA                                                      25         Commission Expiration Date

                                                                       Page 59                                                     Page 61
 1           DEPOSITION REVIEW                                                    1          ERRATA SHEET
            CERTIFICATION OF WITNESS
 2                                                                                       VERITEXT LEGAL SOLUTIONS MIDWEST
       ASSIGNMENT REFERENCE NO: 6332424                                           2        ASSIGNMENT NO: 6332424
 3     CASE NAME: Threshold Enterprises LTD. v. Lifeforce Digital Inc.
                                                                                  3 PAGE/LINE(S) /      CHANGE       /REASON
       DATE OF DEPOSITION: 12/15/2023
 4     WITNESS' NAME: Ira Goldberg                                                4 ___________________________________________________
 5     In accordance with the Rules of Civil                                      5 ___________________________________________________
   Procedure, I have read the entire transcript of
 6 my testimony or it has been read to me.                                        6 ___________________________________________________
 7     I have made no changes to the testimony                                    7 ___________________________________________________
   as transcribed by the court reporter.                                          8 ___________________________________________________
 8
   _______________           ________________________                             9 ___________________________________________________
 9 Date              Ira Goldberg                                                10 ___________________________________________________
10     Sworn to and subscribed before me, a
   Notary Public in and for the State and County,
                                                                                 11 ___________________________________________________
11 the referenced witness did personally appear                                  12 ___________________________________________________
   and acknowledge that:                                                         13 ___________________________________________________
12
       They have read the transcript;                                            14 ___________________________________________________
13     They signed the foregoing Sworn                                           15 ___________________________________________________
           Statement; and                                                        16 ___________________________________________________
14     Their execution of this Statement is of
           their free act and deed.                                              17 ___________________________________________________
15                                                                               18 ___________________________________________________
       I have affixed my name and official seal
16
                                                                                 19
   this ______ day of_____________________, 20____.                                 _______________      ________________________
17                                                                               20 Date          Ira Goldberg
           ___________________________________
18         Notary Public                                                         21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
19         ___________________________________                                   22 DAY OF ________________________, 20______ .
           Commission Expiration Date
                                                                                 23       ___________________________________
20
21                                                                                        Notary Public
22                                                                               24
23
24                                                                                        ___________________________________
25                                                                               25       Commission Expiration Date

                                                                                                                                       16 (Pages 58 - 61)
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